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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

MARY E. AMAYA                                §
and MARIANAO AMAYA                           §   NO. 6:19-cv-00358
                                             §
v.                                           §      JURY DEMANDED
                                             §
TEXAS ROADHOUSE, INC.                        §

                                 NOTICE OF REMOVAL

       Notice is hereby given that Defendant Texas Roadhouse, Inc. through its

undersigned counsel, hereby removes to this Court the civil action filed in the 146th

Judicial District Court, Bell County, Texas under Cause No. 306,656-B, pursuant to 28

U.S.C. §§ 1441(a) and 1446. In support thereof, Defendant shows as follows:

       1.     This Notice of Removal is being filed within thirty (30) days of

Defendant’s receipt of Plaintiffs’ Original Petition on May 9, 2019.

       2.     Removal to this Court is proper pursuant to 28 U.S.C. § 1441(a) because

the Court has original jurisdiction of this action under 28 U.S.C. § 1332(a)(1) as there is

complete diversity of citizenship. Defendant Texas Roadhouse, Inc. is a Delaware

corporation with its principal place of business in Kentucky. Plaintiffs are citizens of the

State of Texas. See Plaintiff’s Original Petition attached as Exhibit 1.

       3.     The amount in controversy as indicated in Plaintiffs’ Petition is over

$250,000.00. See Exhibit 1, Paragraph 27.

       4.     Pursuant to 28 U.S.C. § 1446(a) and Local Rule LR-81, a copy of the

executed Citation is attached hereto as Exhibit “2.” The State Court has not created a
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docket sheet for the state court case. The state court issued no orders. Also attached as

Exhibit “3” is a list of all counsel of record, including addresses, telephone numbers, and

parties represented. Plaintiff requested a jury trial in the state court; Defendant requests a

jury trial. Defendant also attaches the federal civil cover sheet.

       6.      In accordance with 28 U.S.C. § 1446(d), Defendant will provide written

notice hereof to Plaintiffs, by and through their counsel of record, and will file a copy of

this Notice of Removal with the Bell County District Clerk.

       WHEREFORE, Defendant hereby removes to this Court the above-referenced

action previously pending in the 146th Judicial District Court of Bell County, Texas, and

respectfully request that this Court accept jurisdiction of the action and place it on the

docket of this Court for further proceedings as though the action had originally been

initiated in this Court.

                                           Respectfully submitted,

                                           HEXT TRIAL LAWYERS

                                           //s/Christy Hext
                                           Christy A. Hext
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                                           ATTORNEYS FOR DEFENDANT




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                           CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
sent in compliance with the Federal Rules of Civil Procedure to Plaintiffs’ counsel of
record on this 7th day of June, 2019.


                                        //s/Christy Hext
                                        Christy A. Hext




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